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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 15 CR 515
             v.
                                           Judge John Z. Lee
ALBERT ROSSINI, et al.

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d) and

18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

      1.     The materials provided by the United States, exchanged by the

Parties, or produced by third parties, in preparation for, or in connection with, the

proceedings in this case contain particularly sensitive information (“Sensitive

information”). Sensitive information includes, but is not limited to: (1) non-party

names, addresses, dates of birth, driver’s license numbers, social security numbers,

and other identifying information; (2) non-party financial information; (3)

statements by, and reports of interview of, individuals who have been or are

cooperating with the government’s investigation; and (4) any information that

might disclose the identity of a cooperating individual. All materials containing

Sensitive Information (the “Materials”), including those previously produced to

defendant in this case, or provided by defendant, are subjected to this protective

order. The Materials may only be used by defendants and defendants’ counsel

(defined as counsel of record in this case) solely in connection with the defense of
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this case, or in connection with other docketed cases involving the defendants, and

for no other purpose, without further order of Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.

      3.     Certain materials disclosed or to be disclosed by the government

contain particularly sensitive information, including financial information of one or

more persons other than the defendant to whom the information is disclosed. These

materials shall be plainly marked as sensitive by the government prior to

disclosure. No such materials, or the information contained therein, may be

disclosed to any persons other than defendants, counsel for defendants, persons

employed to assist the defense, or the person to whom the sensitive information

solely and directly pertains, without prior notice to the government and

authorization from the Court. Absent prior permission from the Court, information

marked as sensitive shall not be included in any public filing with the Court or any

other court, and instead shall be submitted under seal (except in the case of a

defendant who chooses to include in a public document sensitive information

relating solely and directly to the defendant making the filing).

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      4.     Defendants, defendants= counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case, or other docketed cases involving defendants, by

defendants, defendants’ counsel, and authorized persons. Such copies and

reproductions shall be treated in the same manner as the original materials.

      5.     Defendants, defendants= counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

defendants or defendants= counsel by mistake, the United States shall have the

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right to request the return of the material and shall do so in writing. Within five

days of the receipt of such a request, defendants and/or defendants’ counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall

certify in writing that all copies of the specified material have been deleted from

any location in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3, above, shall

be filed under seal to the extent necessary to protect such information, absent prior

permission from this Court.




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      10.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

                                        ENTER:


                                        JOHN Z. LEE
                                        District Judge
                                        United States District Court
                                        Northern District of Illinois

Date: 9/29/15




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